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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:16-CR-212
                                           :
             v.                            :   (Judge Conner)
                                           :
KEVIN COLES and                            :
TOREY WHITE,                               :
                                           :
                    Defendants             :

                                  SEALED ORDER

      AND NOW, this 1st day of April, 2022, upon consideration of defendant

Kevin Coles and Torey White’s joint motion (Doc. 1107) in limine to admit pretrial

statements of defendant Kenyatta Corbett at the upcoming trials in this case, and

the parties’ respective briefs in support of and in opposition thereto, and for the

reasons set forth in the accompanying memorandum of today’s date, it is hereby

ORDERED that:

      1.     The motion (Doc. 1107) is GRANTED regarding Corbett’s July 20,
             2018 interview to the extent Corbett’s statements implicating himself
             in drug trafficking and the June 25, 2016 robbery shall be admissible at
             trial as statements against his penal interest pursuant to Federal Rule
             of Evidence 804(b)(3). The motion (Doc. 1107) is otherwise DENIED.

      2.     Counsel for Coles and counsel for the government are directed to
             meet and confer and jointly propose to the court (1) which excerpts
             from the July 20, 2018 interview counsel agree meet the requirements
             set forth in paragraph 1, consistent with the accompanying
             memorandum, and (2) in what format counsel agree to present those
             excerpts to the jury. The parties shall submit their proposal to the
             court no later than 5:00 p.m. on Wednesday, April 6, 2022.
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3.   This meet-and-confer obligation is DEFERRED as to counsel for
     White. We will task counsel for White and counsel for Coles to meet
     and confer for the same purpose once a trial date for White has been
     established.




                              /S/ CHRISTOPHER C. CONNER
                              Christopher C. Conner
                              United States District Judge
                              Middle District of Pennsylvania
